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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNrrpp Srnrps Drsrrucr CoURT
                                                                for the
                                                      District of Massachusetts

MAURA O'NElLL, as administrator of the                            )
Estate of Madelyn E. Linsenmeir,                                  )
                                                                  )
                                                                  )
                            Plaintif(s)                           )
                                                                  )       Civil Action No.
                                                                  )
CITY OF SPRINGFIELD, MOISES
ZANAZAN IAN, REMI NGTON MCNABB,                                   )
SHEILA RODRIGUEZ, HAMPDEN                                         )
COUNTY SHERIFF'S DEPARTMENT, and                                  )
JOHN/JANE DOES NOS. 1-5.                                          )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                          MOISES ZANAZANIAN
                                          Sorinofield Police Deoartment
                                          130 P"earl Street
                                          Springfield, MA 01105



          A lawsuit has been filed against you.

          Within 2 I days after service of this summons on you (not counting the day you received it)             or 60 days if you
                                                                                                              -
are the United States or a United States agency, or an offìcer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are:
                                          Richard J. Rosensweio
                                          Goulston & Storrs PC-
                                          400 Atlantic Avenue
                                          Boston, MA 02110


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                           PROOF OF SERVICE
                       (Thìs section should not beliled wíth the court unless requ¡red by Fed. R. Civ. P. 4 (l))


           This summons for (name of individual and title, if any)
 was received by me on (date)


           D I personally served the summons on the individual aI (ptace)
                                                                                 on (date)                             ;or
           i I left the summons at the individual's residence or usual place of abode with @ane)
                                                                  , a person ofsuitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           Í I served the summons on (name of individual)                                                                      , who is

            designated by law to accept service ofprocess on behalfof (name oforganization)
                                                                                 on (date)                             ;or
           I I returned the summons unexecuted because                                                                              ;or
           il Other (specifu):


           My fees are $                           for travel and $                   for services, for a total of $         0.00


           I declare under penalty of perjury that this information is true.



Date
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
